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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

   KEITH E. TAYLOR, TERRENCE
   MCGLOTHLIN and JAMES SIMPSON,

           Plaintiffs,

   v.                                                              Case No: 6:17-cv-1929-Orl-40TBS

   C&L TOWING AND TRANSPORT, L.L.C.
   and CARL CHASE,

           Defendants.


                                                   ORDER

           Defendants Motion for Order to Show Cause (Doc. 51) is denied, without

   prejudice, due to non-compliance with Local Rule 3.01(g). 1

           DONE and ORDERED in Orlando, Florida on January 22, 2019.




   Copies furnished to Counsel of Record




           1
             It appears that counsel conferred regarding the Opt-ins’ responses to the Court’s interrogatories
   and their documents (Doc. 51 at ¶¶ 11-13). The local rule requires the moving party to “file with the motion
   a statement (1) certifying that the moving counsel has conferred with opposing counsel and (2) stating
   whether counsel agree on the resolution of the motion.” No such statement as to opposing counsel’s
   position on the motion is included.
